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                   Exhibit 18B
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

*************************************************
                                                *
      IN RE: OIL SPILL by the OIL RIG           *                  MDL No. 2179
      “DEEPWATER HORIZON” in the                *                  SECTION J
      GULF OF MEXCO, on                         *                  JUDGE BARBIER
      APRIL 20, 2010                            *                  MAG. JUDGE SHUSHAN
                                                *
*************************************************


                            Declaration of J. Lester Alexander, III



       1.     I am the Managing Principal of Accounting, Economics and Appraisal Group,
LLC (“AEA Group”) located in Birmingham, Alabama. I am a Certified Public Accountant
(“CPA”), Chartered Global Management Accountant and a Certified Fraud Examiner.
Furthermore, I am Certified in Financial Forensics and Accredited in Business Valuation by the
American Institute of Certified Public Accountants (“AICPA”).         I have over 34 years of
professional experience performing audit, tax and consulting services, including to clients in
Alabama, Florida, Louisiana, Mississippi and Texas. In addition, I am experienced in fraud risk
assessment and the development of anti-fraud control systems that mitigate fraud risk.
       2.      I am a former partner of PricewaterhouseCoopers LLP (“PwC”) and its legacy
firm, Coopers & Lybrand, LLP, where I served as the Leader of the South Center of Excellence
for the Litigation Support Consulting Practice. In this role, I was responsible for approximately
one-hundred and twenty experts in accounting and economic damages located in the cities of
Atlanta, Birmingham, Dallas, Houston, Louisville, Miami, and Tampa. Prior to PwC, I served as
Shareholder-In-Charge of Audit Services for the largest CPA firm in the State of Alabama.
       3.     I have provided audit, tax and consulting services to companies operating in the
construction industry for more than thirty-four years. I serve on the Board of Directors and
Executive Committee of a heavy steel fabricator and precision machining contractor in business
for more than one hundred years. The US Bankruptcy Court in the Middle District of Alabama
appointed me to serve as the Chapter 11 & Chapter 7 Bankruptcy Trustee of a uniform contractor
and to serve as the Chapter 7 Trustee of a road and bridge construction contractor. I currently

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serve on the Panel of Trustees in the Middle District of Alabama and am available for special
appointment by the Court. I have lectured on a variety of financial topics including those related
to record keeping, claims and fraud and abuse in the construction and other industries.
       4.       I have substantial experience properly applying revenue and expense accounting
methods.      I have applied these methods in connection with a wide variety of accounting
purposes. I have done so when analyzing economic damages, preparing business-interruption
claims, auditing financial statements, preparing financial reports, valuing assets, valuing
businesses, analyzing business performance and in other circumstances. I have applied or
evaluated the application of revenue and expense accounting methods in a wide variety of
industries including the manufacturing, distribution, healthcare and financial services industries.
Moreover, I have done so in a variety of specialized industries, including the healthcare, real
estate development and construction industries.
       5.       I have testified as an expert witness in Federal Court, State Court and Arbitration
on a variety of topics, including those involving the proper application of revenue and expense
methodologies. Exhibit 1 contains additional information concerning my qualifications and
experience.     Exhibit 2 is a list of the materials I relied upon in arriving at my findings,
observations and opinions.

                                                  SCOPE

       6.       BP America, Inc. (“BP”) retained me in the above referenced matter to study BEL
(“Business Economic Loss”) claim files, review the Business Economic Loss (“BEL”)
Framework, review BP’s implementation approach for the BEL Framework, review the BEL
implementation interpretation of Class Counsel and the Claims Administrator and to report my
findings, observations and opinions regarding:
             The generally accepted meaning of certain financial terms which are used in
              the Exhibits 4B and 4C of the BEL Framework that is part of the Economic
              and Property Damages Settlement Agreement as Amended on May 2, 2012
              (“Settlement Agreement”);

             The necessity and practicality of BP’s BEL implementation approach in light
              of the requirements of the BEL Framework;



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               An example of BP’s implementation approach being applied to a business
                operating in the construction industry; and

               An analysis of the work performed by PwC and Postlethwaite (the “CSSP
                Accountants”) in connection with processing BEL claims and the
                implications thereof.

                           FINDINGS, OBSERVATIONS AND OPINIONS

                  Generally Accepted Meaning of Certain Terms in Exhibit 4B & 4C

        7.         BEL Framework Exhibit 4C of the Settlement Agreement, Compensation
Framework for Business Economic Loss Claims, uses but does not define the terms “revenue”
and “expense” when describing how the BEL Framework is to be implemented. 1                            BEL
Framework Exhibit 4B, Causations Requirements for Business Economic Loss Claims, of the
Settlement Agreement uses but does not define the term “revenue”.2 The terms revenue and
expense, as used in Exhibit 4B and 4C, are terms commonly utilized and universally understood
by CPAs and others participating in the discipline of accounting.

        8.         Revenues are inflows (which could be cash, rights to receive cash in the future,
enhancements of other assets, settlements of liabilities or some combination of all these) from
delivering or producing goods, rendering services or other activities that constitute the ongoing
major or central operations of a business.3 Revenues should not be confused with cash receipts
because revenues include expected cash inflows as well as actual cash inflows.                    Financial
Accounting Standards Board’s (“FASB”) Statement of Financial Accounting Concepts No. 6 -
Elements of Financial Statements issued December 1985 states that revenues have the following
characteristics:

        “Revenues represent actual or expected cash inflows (or the equivalent) that have
        occurred or will eventuate as a result of the entity's ongoing major or central
        operations. The assets increased by revenues may be of various kinds—for
        example, cash, claims against customers or clients, other goods or services
        received, or increased value of a product resulting from production. Similarly, the

        1
            The Deepwater Horizon Economic and Property Damages Settlement Agreement Exhibit 4C
        2
            The Deepwater Horizon Economic and Property Damages Settlement Agreement Exhibit 4B
        3
          Financial Accounting Standards Board, Statement of Financial Accounting Concepts No. 6, Elements of
Financial Statements p.30 (2008) (1985).

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        transactions and events from which revenues arise and the revenues themselves
        are in many forms and are called by various names—for example, output,
        deliveries, sales, fees, interest, dividends, royalties, and rent—depending on the
        kinds of operations involved and the way revenues are recognized.” CON 6, p.
        30, paragraph 79.


        9.      Expenses are outflows (which could be cash, using up of other assets, incurrence
of liabilities or some combination of all these) from delivering or producing goods, rendering
services or other activities that constitute the ongoing major or central operations of a business.4
Expenses should not be confused with cash disbursements because expenses include expected
cash outflows as well as actual cash outflows.              Financial Accounting Standards Board’s
Statement of Financial Accounting Concepts No. 6 - Elements of Financial Statements issued
December 1985 states that expenses have the following characteristics:

        “Expenses represent actual or expected cash outflows (or the equivalent) that have
        occurred or will eventuate as a result of the entity's ongoing major or central
        operations. The assets that flow out or are used or the liabilities that are incurred
        may be of various kinds—for example, units of product delivered or produced,
        employees' services used, kilowatt hours of electricity used to light an office
        building, or taxes on current income. Similarly, the transactions and events from
        which expenses arise and the expenses themselves are in many forms and are
        called by various names—for example, cost of goods sold, cost of services
        provided, depreciation, interest, rent, and salaries and wages—depending on the
        kinds of operations involved and the way expenses are recognized.” CON 6, p.
        31, paragraph 81.


        10.     The meanings commonly ascribed to the terms revenue and expense by CPAs and
found in numerous sources are consistent with BP’s approach to implementing the BEL
Framework. BP’s implementation approach includes revenue from as the rights to cash inflows,
current and future, earned by delivering or producing goods, rendering services or other
activities. BP’s approach does not equate revenue to cash collections, without regard to the
delivery of goods and services to earn revenue, as does Class Counsel’s approach.                      BP’s
approach includes expenses from all outflows, current and future, incurred by delivering or
producing goods, rendering services or other activities. BP’s approach does not limit expenses to
cash disbursements, as does Class Counsel’s approach.
        4
          Financial Accounting Standards Board, Statement of Financial Accounting Concepts No. 6, Elements of
Financial Statements p.31 (2008) (1985).

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         11.      Class Counsel’s approach confuses cash receipts and disbursements with revenue
and expense. It places no current value on amounts earned but collectable in the future. It places
no current value on non-cash assets exchanged in the revenue earning process. It also places no
current amount on debts for which payment is accruing but not currently due.

         12.      In total, I have identified eleven similar definitions of revenue and six similar
definitions of expense published by sources considered authoritative by CPAs.5 I have included
excerpts of these definitions in Exhibit 3.

         13.       Matching revenue to the corresponding expenses in the period revenue is
economically earned is a critical component of determining profit under the BEL Framework.
Profit is defined in the Handbook of Cost Management as the “Excess of revenues over expenses
for a transaction; sometimes used synonymously with net income for the period.” 6 Therefore,
revenues must be matched with the expenses related to the goods and services provided in order
to measure profit accurately. CPAs, by custom and practice, routinely account for revenue and
expense using the matching principle. They do so across a wide range of areas in addition to
financial accounting. For example, CPAs use the matching principle in the managerial, forensic,
lost profits and valuation accounting sub-disciplines of accounting. They use the matching
principle when analyzing economic damages7,8, preparing business-interruption claims9, auditing


         5
            See e.g., Financial Accounting Standards Board, Statement of Financial Accounting Standards No. 162,
The Hierarchy of Generally Accepted Accounting Principles, pp. 2-3, par. 5, May 2008 which states, “If the
accounting treatment for a transaction or event is not specified by a pronouncement or established in practice as
described in categories (a)–(d), an entity shall first consider accounting principles for similar transactions or events
within categories (a)–(d) and then other accounting literature. [.…] Other accounting literature includes, for
example, FASB Concepts Statements, AICPA Issues Papers, International Financial Reporting Standards (IFRSs) of
the International Accounting Standards Board (IASB),4 pronouncements of other professional associations or
regulatory agencies, Technical Information Service Inquiries and Replies included in AICPA Technical Practice
Aids, and accounting textbooks, handbooks, and articles. The appropriateness of other accounting literature depends
on its relevance to particular circumstances, the specificity of the guidance, and the general recognition of the issuer
or author as an authority. For example, FASB Concepts Statements would normally be more influential than other
sources in this category.”
         6
          See e.g., R.L. Weil and M.W. Maher, Handbook of Cost Management, 2d ed., 112 (John Wiley & Sons,
Inc., 2005).
         7
           See e.g. Robert L. Dunn, Recovery of Damages for Lost Profits Volume 2, 751-752 (John Wiley & Sons,
Inc. 2005). The two steps in a “lost profits estimation” analysis are “Step #1 – measuring the loss of revenue in each
period that was caused by the event giving rise to the claim…Step #2 – deriving an ‘Incremental Lost Profit Margin’
to multiply times the lost revenue to obtain the estimate of lost profits in each period of the overall damage period.”
Alternative methods to measure lost revenue include “(1) the ‘yardstick’ approach-other comparable operations
during the same period of time…(2) ‘Before versus during damage period’ comparison…(3) ‘Before damage versus
after damage’ comparison.”

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financial statements, preparing financial reports, valuing assets, valuing businesses, analyzing
business performance and in other circumstances. This is because proper matching of revenue
and expense is at the very core of the discipline of accounting and without proper matching, it is
impossible to calculate profit; any financial determinations made will be unreliable and
irrelevant.
        14.        Businesses generally account for revenue and expense using the matching
principle on an annual basis, but often do not accurately post activity on a monthly basis
throughout the year because there is no tax or other regulatory requirement for them to do so.
Businesses tend to concentrate on cash management on a daily basis and utilize project
management systems to evaluate and manage work throughout the year. As a result, revenue and
expense matching issues and other inaccuracies are commonplace in monthly financial
statements.
        15.        Many businesses, such as distributors and manufacturers, acquire large sums of
inventory and later sell the inventory to generate revenue. These industries eventually apply the
matching principle by accumulating the expenditures for inventory and matching them with the
revenue when they sell their product. However, matching procedures are generally performed at
specific times during the year (for example when inventory is counted) and any matching errors
and inaccuracies are corrected in the month the error is identified - not in the month(s) when the
errors occurred.
        16.        Correcting errors in the month found, not in the month the error occurred, is fine
for annual financial statements because those annual financial statements will reflect accurate
matching on an annual basis. However, correcting errors in the month found and not in the prior
period monthly financial statements causes the monthly financial statements to be unreliable
because the monthly revenues and corresponding expenses are mismatched; monthly profit is
distorted; and distortions can, and often do, vary wildly from month-to-month (and make
monthly comparisons across years inaccurate and unreliable). Company management who use

        8
            See, e.g., Richard A. Pollack, et al., AICPA Practice Aide 06-4 Calculating Lost Profits 25 (2006).
        9
           See, e.g., Patrick A. Gaughan, Measuring Business Interruption Losses and Other Commercial Losses,
192 (John Wiley & Sons, Inc.. 2004). “The true economic losses of a firm are its lost incremental revenues minus
the incremental costs associated with these revenues. The margin associated with these lost incremental revenues is
usually less than or equal to the gross margin, but is greater than or equal to the net margin. In effect, the lost
incremental revenues minus the associated incremental costs becomes the definition of net profits appropriate to
commercial damages litigation.”

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monthly financial statements primarily to monitor cash flows are typically knowledgeable and
take the need for cumulative “catch up” adjustments later in the year into account in managing
their business, so the monthly financial statements may be fine for the limited purposes for which
they use them. However, using the inaccurate monthly financial statements under the BEL
Framework can produce wildly distorted results. In short, monthly financial statements with
incorrect or unrelated revenues and expenses are commonplace, but using such statements for
BEL Framework analysis is inconsistent with the terms of the Settlement Agreement.

                                The BP Implementation Approach

       17.      Given the inaccuracies commonplace in monthly financial statements, some data
review and correction procedures are necessary to both detect and correct irregularities and
improper matching of monthly revenues and expenses. BP’s implementation approach is a
practical solution to detect and uniformly correct matching issues and inaccuracies across the
wide variety of claimants eligible under the BEL framework.

Step 1: Identify and Correct Inaccuracies in Monthly P&L Entries

       18.      BP’s implementation approach logically begins by identifying clear errors and
distortionary entries in the monthly financial statements of all BEL claimants. Such entries may
be perfectly appropriate for the claimant’s management and internal needs, but where monthly
revenues and expenses are not properly matched variable profit will be misstated and the BEL
formula will not accurately reflect economic damages.
            “True up” or Year End Adjustments:            Large variances or infrequent
             balances in an account often indicate cumulative entries assigning activity
             from many months to a single month. This often happens at the end of a
             fiscal year for items such as bonuses, inventory valuation adjustments, profit
             sharing or pension contributions, etc.
            Negative or Zero Variable Expenses: Expenses are, by definition, outflows,
             so any month with a negative expense balance generally indicates a
             correction of previous activity. Without matching the correction with the
             error, two months are misstated. Where a regular expense shows a zero
             balance, an error may have occurred causing the expense to be missed or
             incorrectly accumulated and placed in an incorrect month.

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            Negative Revenues: Revenues are, by definition, inflows, so any month
             with a negative revenue balance generally indicates a correction of a previous
             error.   Without matching the correction with the error, two months are
             misstated.
       19.      My review of claims files indicates CSSP accountants are currently identifying
these types of errors on a regular basis, but not always correcting for the effects of these
distortions. In the course of correspondence with the claimants, CSSP accountants often identify
corrections and adjustments that can be specifically applied.       In other cases, however, the
solutions may require matching based on other factors that properly capture the activity.
Examples of such instances are identified in Exhibit 4 to this declaration.

       20.      Examples of how to correct line item inaccuracies identified from such a review
include, but are not limited to, the following:

            Bad Debt Expense: Businesses typically adjust bad debt reserves and record
             bad debt expense in the month the accounts receivable is determined to be
             uncollectable and not in the month when the sale was recorded. Recording
             bad debt expense annually (or sporadically), instead of monthly, is ordinarily
             appropriate for annual financial statements. However, recording bad debts in
             this fashion causes monthly financial statements to be unreliable because
             profits are understated in the month the account is determined to be
             uncollectable and overstated in the month the sale was recorded.

            Year-end Bonuses: Businesses typically pay bonuses at the end of the
             period the bonuses were earned (often at the end of a year). They record the
             bonus expense in the month paid and not in the months the bonuses were
             earned. As with bad debts, recording bonuses annually (or sporadically),
             instead of monthly, causes monthly financial statements to be unreliable
             because expenses are overstated in the month the bonuses are paid and
             understated in the months the bonuses were earned.

            Negative Revenue:      A negative revenue line item in a given month is
             evidence that an error in one month was corrected in another. As discussed
             above in paragraph 9, businesses generally correct errors in the month found -

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             not in the month(s) when the errors occurred. Correcting revenue errors in
             this fashion causes an equal, but opposite, error in the month of the
             correction. While this approach corrects the error on an annual basis, it
             misstates monthly revenue in two months.

            Zero or Negative Variable Expense: Similarly, zero and negative variable
             expense line in a given month is evidence that an error in one moth was
             corrected in another.    As with revenue, this approach misstates monthly
             expense in two months.

       21.     The Step 1 review will detect and uniformly correct a wide variety of other
matching errors and inaccuracies in Claimant monthly financial statements.



Steps 2 and 3: Apply Triggers to Identify Potential Matching Problems and Apply
Matching Strategies for Problems Identified in Trigger Analysis

       22.     Businesses generally apply the matching principle using accounting methods
tailored to their industries. For example, contractors match revenue to the cost of construction as
the work progresses using the percentage-of-completion method. Manufacturers and distributors
use inventory accounts to hold assets after purchase and match those costs with revenues related
to selling those items. Many businesses generally do not perform monthly matching procedures
and instead only properly assign revenues and expenses on an annual basis (and possibly at other
times where bank covenants or other business purposes require accurate financial statements).
As a result, matching errors and inaccuracies are generally corrected in the month found and not
in the month(s) the original error occurred. As a result, revenues and corresponding expenses are
mismatched on a monthly basis and monthly profit is distorted. These distortions can, and often
do, vary wildly. Triggers can detect these types of errors so industry specific corrections can be
applied to make monthly financial statements more reliable and relevant:

            Months with revenue “spike” as reported by claimants: The presence of
             revenue spikes (in excess of the amount that might be expected based on
             regular patterns of seasonality) suggests that revenue may not be recorded
             when it was earned, perhaps instead reflecting when payment is received.


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            Months with negative margins reported by claimants: Negative variable
             profit is an indicator that revenue and profit may be mismatched because
             businesses typically would not operate when variable profit is negative.

            Wide month-to-month swings in variability in profit margin as reported
             by claimants: Large month-to-month swings in monthly variable profits
             suggest that revenue is not reported when it is earned and/or is not properly
             matched with the corresponding variable expense.

       23.       Where the financial statements submitted by a claimant hit one of these triggers,
mismatching is likely. BP’s approach would require the CSSP accountants to conduct further
review where one of the triggers has been tripped, to determine whether it is a result of
mismatching or actual fluctuations in financial performance.

       24.      For claims where the trigger is tripped because of mismatching, BP has
appropriately proposed approaches for correcting matching errors that properly account for, and
are tailored to, the specific characteristics of various industries.    This is a reasonable and
appropriate approach consistent with what CPAs and other financial analysts would do in
practice.

                   BEL Implementation Approach - Construction Industry Example

       25.      While I have reviewed and understood each of the various industry approaches
proposed by BP and discussed in detail in the declaration of Hal Sider, I have been asked
specifically to address the construction industry approach based on my background and
experience. Paragraph 84 of Hal Sider’s declaration states, “As described above, a preferred
approach to evaluation of construction claim[s] would apply the general methodology based on
job-specific schedules.” In the construction industry, job-specific progress reports can be applied
on a job-specific basis to match revenue and corresponding variable expenses.
       26.      Claimants could supply project billing and cost information customarily
maintained by those operating in the construction industry for any project with activity in a
benchmark year, 2010 or 2011. The claimant could also provide cost information at the project
level on a monthly basis, pursuant to Settlement Agreement Ex. 4A ¶ 4, which provides that
underlying source documents for financial statements may be requested. In the very rare case
when monthly cost information is not available, costs may be distributed pro rata based on the

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beginning and end dates of the project in the manner discussed in paragraph 46 of the declaration
of Hal Sider. For projects begun in 2011 or earlier which are not complete at the time the claim
is submitted, total expected billings, costs to date and estimated costs to complete would be
provided as of the most recent year end (and as included in year-end tax filings).

       27.        In the following example, claimants provided job-specific reports. Exhibit 5 to
my declaration contains a job schedule submitted by an actual claimant in support of their claim
(the full job schedules are included in document              beginning on page 59). This schedule
is typical of the information maintained by construction companies and can generally be
obtained from project management software or year-end tax records. In this example, the
claimant performed work on 56 total projects over the four years provided.

       28.      As illustrated in Exhibit 6, it is a simple task to calculate each project’s
profitability and properly match revenues and expenses on a monthly basis using the job costing
information. Revenues are earned over the course of a project as work is performed, and work
performance is measured using the expenses incurred on the job over a given time period. It is
a mathematical computation to properly match the revenues with expenses as follows:

             Step 1: Divide total revenues by the total corresponding variable expenses for
             each project. This yields a revenue/cost ratio for every project.

             Step 2: Match the revenue to the monthly cost by multiplying each project’s
             actual monthly cost by its revenue/cost ratio calculated in Step 1 to determine
             the revenue earned in a month.

       29.      Exhibit 6 is an illustration of the steps described above that sums to provide
monthly and annual revenue totals for each job. The data entry required for this example was
routine and completed by support staff.

The CSSP Accountants Are Detecting Matching Errors But Corrections Are Not Being Made

       30.      A review of CSSP claim files on appeal indicates that the CSSP Accountants are
corresponding with claimants and identifying revenue and expense matching issues and
inaccuracies as discussed above consistent with the approach proposed by BP. They are making
inquiries, performing quantitative financial analysis, checking the accuracy, and testing the
reliability of the accounting data provided by Claimants. However, in many cases they are not

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LLP had 173 professionals rendering services in connection with Deepwater Horizon Claims
Program during the period of November 1, 2012 to November 30, 2012.12

                                                      Conclusion

       33.         BP’s approach to implementing the BEL Framework is grounded in generally
accepted and commonly understood meanings of the words revenue and expense. It is based on
a generally accepted accounting principle whereby revenue is matched with the corresponding
expenses incurred and recognized in the period earned. BP’s implementation approach provides
a practical mechanism to detect and correct matching issues and inaccuracies in monthly
financial statements and the CSSP Accountants have the capabilities and resources to implement
BP’s approach.

I declare under penalties of perjury that he foregoing is a true and correct statement of my
findings, observations and opinions.

By,



_______________________________________________

       J. Lester Alexander, III

       As of February 18, 2013




             12
                  See e.g. PricewaterhouseCoopers LLP Invoice number 113012 dated 11/30/2012.

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                                                                                                   Exhibit 1




              J. Lester Alexander, III, CPA, ABV, CFF, CFE, CGMA

Professional Experience
Mr. Alexander is the founder and Managing Principal of Accounting Economics and Appraisal Group, LLC.
He is a former partner of PwC and former southeastern practice leader of one of its legacy firm's consulting
practices. Mr. Alexander has more than thirty-four years experience performing audit, tax and consulting
services. In recent years Mr. Alexander has concentrated his practice in the areas of fraud investigation,
forensic accounting and valuation consulting services. Mr. Alexander is a Certified Public Accountant,
Chartered Global Management Accountant and Certified Fraud Examiner. He is Accredited in Business
Valuation, and Certified in Financial Forensics by the American Institute of Certified Public Accountants. Mr.
Alexander holds a Bachelor of Science in Business Administration with a major in Accounting from the
University of Alabama.

Mr. Alexander has provided services and, from time to time, expert testimony in Federal and state courts and in
situations involving alternative dispute resolution. He has provided testimony in connection with contract
disputes, mortgage servicing rights issues, security issues, insurance coverage issues, non-compete agreements,
business combination agreements, lost profits, business valuation, mortgage servicing rights valuation and
various other matters. He has testified in Federal court and state courts in connection with class action
certification hearings and class action fairness hearings. In addition, Mr. Alexander's experience includes
testimony about risk management practices and standards of care in auditing, operating and controlling business
assets and activities. Mr. Alexander has concentrated experience in a variety of industries.

He is experienced in and has provided business valuation, acquisition due diligence, financial advisory, tax
advisory, investment advisory, forensic accounting, fraud investigation, cash tracing and cost accounting
services. He has evaluated ownership interests in businesses in connection with acquisitions, disposals and
disputes. He has performed suitability studies in connection with investment transactions in a wide range of
financial instruments. He has traced the flow of cash and determined the sources and uses of funds. In addition,
he has performed incremental cost studies, contribution margin studies and other applications of cost accounting
for clients in connection with new products, acquisitions, patent valuations and evaluation of trademarks. This
experience includes making projections of incremental revenues and costs in connection with profitability
analysis of proposed business ventures, new products and other profitability analysis for companies.

Throughout his career Mr. Alexander has advised governing bodies, committees and senior management on
their role in risk management and oversight activities of companies. His clients have included publicly-traded
companies, privately-held companies, governmental entities and tax-exempt entities. He has advised governing
bodies overseeing companies in the start-up/growth, mature and restructuring phases of operational
development. He has performed these services for governing bodies overseeing companies operating in a
variety of industries.

Mr. Alexander has performed determinations of solvency; determined financial feasibility of turnaround plans;
investigated potentially fraudulent transfers made by debtors; analyzed preferential payments to creditors;
analyzed the course of dealings between debtor/creditor; and valued the consideration received when a debtor
transfers assets. Mr. Alexander has testified in court as an expert witness concerning solvency, fraudulent
transfers, preference payments, ordinary course of business, reasonably equivalent value, cash/collateral tracing,
lost profits, business valuation and records reconstruction.

Further, Mr. Alexander has served as Trustee in Chapter 11 and Chapter 7 Bankruptcy Estates, where he made
solvency determinations, pursued recoveries (including adversary proceedings in Federal and State courts) and
performed the routine duties of both a Chapter 11 and Chapter 7 Bankruptcy Trustee. Creditors and Trustees
have engaged Mr. Alexander to review financial feasibility of plans of reorganization, investigate insider
transactions, value businesses and to evaluate loan collateral. Mr. Alexander has served as a lead advisor for
various financial institutions in connection with their underwriting and credit/investment evaluation activities.



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                                                                                                    Exhibit 1


Professional/Business/Community Affiliations
Special Limited Trustee - Middle District of                Lecturer on Online Discovery - Defense Research
Alabama, United States Bankruptcy Court                     Institute's 2001 Annual Meeting of Young
                                                            Lawyers, Miami, Florida
Member - Board of Directors and Executive
Committee, Steward Machine Co, Inc.                         Lecturer on Online Expert Witness Research -
                                                            2001 Louisiana State Bar 17th Summer School for
Lecturer on High Profile Frauds - 2010
                                                            Lawyers, Destin, Florida
Cumberland Law School Continuing Education
Seminar, Birmingham Alabama                                 "Expert Witness Research Post Kumho Tire",
                                                            presented at the American Bar Association's 2000
Lecturer on Fraud Risk Assessments, Antifraud
                                                            Annual Meeting, New York, New York
Programs & Enterprise Risk Management - 2007
Accounting & Auditing Update by Lorman                      Lecturer on Interpreting Financial Statements -
Seminars, Birmingham Alabama                                1999 National Judicial College, Gulf Shores,
                                                            Alabama
Lecturer on Construction Claims - 2007
Construction Contracting Claims Seminar by                  Panelist on Consumer Fraud Issues - Coopers &
Lorman Seminars, Birmingham Alabama                         Lybrand 1997 National Banking Conference,
                                                            Washington, DC
Lecturer on Construction Claims - 2006
Construction Contracting Claims Seminar by                  Former National Practice Leader - Coopers &
Lorman Seminars, Birmingham Alabama                         Lybrand's Financial Services Consumer Dispute
                                                            Resolution Practice
Lecturer on Financial Damages - 2004 Cumberland
Law School Continuing Education Seminar,                    Former Regional Service Line Leader - Coopers &
Birmingham Alabama                                          Lybrand's Litigation Consulting Services Southern
                                                            Region
Lecturer on Financial and Business Fraud Schemes
- 2004 Corporate Counsel Seminar, Birmingham                Former Practice Leader for Dispute Analysis and
Alabama                                                     Investigations - PricewaterhouseCoopers LLP,
                                                            Birmingham, Alabama
Lecturer on Detecting Fraud Schemes - Fall
Bankruptcy Seminar, 2003, Alabama Bar                       Former Member - Banking and Insurance Industry
Continuing Education Series, Birmingham                     Groups - PricewaterhouseCoopers LLP
Alabama
                                                            American Institute of Certified Public Accountants,
Lecturer on Accountant's View of Sarbanes Oxley             Forensic & Valuation Services Section
- 2003 Seminar, Alabama Bar Continuing
                                                            Alabama Society of Certified Public Accountants
Education Series, Birmingham Alabama
                                                            Florida Institute of Certified Public Accountants
Lecturer on Online Fraud Prevention - 2002
Institute of Management Accountants,                        Association of Certified Fraud Examiners
Birmingham, Alabama
                                                            Associate Member-American Bar Association,
Lecturer on Forensic Computer Investigation -               Former Website Editor, Commercial & Business
2001 Discovery Seminar, Alabama Bar Continuing              Litigation Subcommittee, Section of Litigation
Education Series, Birmingham , Alabama
                                                            Past President - Board of Directors of the Bell
Lecturer on Online Business & Financial Research            Center for Early Childhood Development,
Methods - 2001 Federation of Insurance &                    Birmingham Alabama
Corporate Counsel's Internet University, Napa,
                                                            Member - Birmingham Monday Morning
California
                                                            Quarterback Club
Lecturer on Identifying and Investigating Fraud -
2001 Institute of Management Accountants,
Birmingham, Alabama




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                                                                                     Exhibit 2


                                Information Considered

Deepwater Horizon Economic and Property Damages Settlement Agreement as Amended on
May 2, 2012, Including Exhibits 1 A-C, 2, 3, 4 A-E, 5, 6, 7 and 15.

Deepwater Horizon Economic and Property Settlement Business Economic Loss Claim Form
(Purple Form)

SWS-38 Sworn Written Statement for Claimant Accounting Support

Patrick A. Juneau, Claims Administrator, October 8, 2012 Memo re Revisions to or
Clarifications of Selected Policy Decisions Following the October 1, 2012 Panel Meeting

December 16, 2012 Class Counsel Memo re Request for Formal Policy Statement: Monthly
Revenue

BP’s Response to Class Counsel’s December 16, 2012 Request for Policy Determination

Order and Reasons Granting Final Approval of the Economic and Property Damages Settlement
Agreement, filed December 21, 2012

January 15, 2013 E-mail from Rebecca Foreman on behalf of Patrick Juneau re January 15, 2013
Policy Announcement

January 15, 2013 Patrick A. Juneau, Claims Administrator, Memo re Announcement of Policy
Decisions Regarding Claims Administration

January 15, 2013 Affidavit of Harold Asher

January 16, 2013 Declaration of Allen Carroll

Report of Dr. W. Mark Wilder, CPA and Dr. Victoria Dickinson, CPA, Accounting Rules for
Contingent Fee Revenue Recognition

January 17, 2013 Declaration of Rick Stutes CPA, CVA/ABV, APA

January 23, 2013 Declaration of Charles E. Finch

January 23, 2013 Declaration of David A. Hall

January 23, 2013 Declaration of Xavier Oustalniol

Richard C. Godfrey Letter re In Camera January 24, 2013 Discussion of Settlement
Implementation

BP January 24, 2013 Presentation re Economic and Property Damages Settlement – Business
Economic Loss (“BEL”) Compensation Issue

Class Counsel January 23, 2013 In Camera Submission re Monthly Costs and Revenue

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                                                                                      Exhibit 2

Judge Carl Barbier January 30, 2013 E-mail re Review of Issue from Panel (Matching of
Revenue and Expenses)

Supplemental Declaration of Charles E. Finch

Supplemental Declaration of David A. Hall

Supplemental Declaration of Xavier Oustalniol

Declaration of Professor A. Mitchell Polinsky

Declaration of Hal Sider

February 3, 2013 Draft of BP’s In Camera Motion for Further Review of the Claims
Administrator’s Policy Decision with Respect to the Business Economic Loss Framework,
Including Reconsideration of the Court’s January 30, 2013 Determination

Accounting Principles.doc, created January 24, 2013

Financial Accounting Standards Board Statement of Financial Accounting Concepts No. 6 (As
Amended): Elements of Financial Statements

Financial Accounting Standards Board Statement of Financial Accounting Standards No. 162,
The Hierarchy of Generally Accepted Accounting Principles (2008)

SEC Staff Accounting Bulletin 101 – Revenue Recognition in Financial Statements (1999).

Litigation Services Handbook, The Role of the Financial Expert 3rd Edition, (Roman L. Weil, et
al. eds., John Wiley & Sons, Inc. 2007) online glossary.

Litigation Services Handbook, The Role of the Financial Expert 4th Edition, (Roman L. Weil, et
al. eds., John Wiley & Sons, Inc. 2007).

Eric Louis Kohler et al., Kohler’s Dictionary For Accountants, (W.W. Cooper & Yuji Ijiri eds.
Prentice- Hall, Inc. 1983) (1952) (emphasis in original).

Spiceland, J.D., J.F.. Sepe, M.W. Nelson, Intermediate Accounting, 7th ed. 2013.

Stickney, C.P. Financial Reporting and Statement Analysis, A Strategic Perspective, 3rd ed.
(1996).

Libby, R, P. Libby and D.G. Short, Financial Accounting, 7th ed. (2011)

Kieso, Donald E., J. J. Weygandt, Intermediate Accounting, 9th ed. (1977)

Black’s Law Dictionary Ninth Edition (Bryan A. Garner ed., Thomson Reuters 2009) 1891.Eric
Louis Kohler et al., Kohler’s Dictionary For Accountants, (W.W. Cooper & Yuji Ijiri eds.
Prentice- Hall, Inc. 1983) (1952)


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                                                                               Exhibit 2

          Document           - Financial Data Used by Accountants (Excel)

          Document           - Accountant Compensation Calculation Schedules

          Document           - Eligibility Notice

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                      including:

          Document           - Correspondence from Claimant's Council

          Document           - Claimant Accounting Support Sworn Statement

          Document           - Accountant Compensation Calculation Schedules

          Document           - Eligibility Notice

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                          including:

          Document           - Claimant Accounting Support Sworn Written Statement

          Document           - Financial Data Used by Accountants (Excel)

          Document           - Accountant Compensation Calculation Schedules

          Document           - Eligibility Notice

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                       including:

          Document           - Claimant Account Support Sworn Written Statement

          Document           - Correspondence from Claimant’s Counsel

          Document           - Correspondence from Claimant’s Counsel

          Document           - Correspondence from Claimant’s Counsel

          Document           - Correspondence from Claimant’s Counsel

          Document           - Correspondence from Claimant’s Counsel



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                                                                               Exhibit 2

          Document           - Correspondence from Claimant’s Counsel

          Document           - Accountant Compensation Calculation Schedules

          Document           - Financial Data Used by Accountants (Excel)

          Document           - Eligibility Notice

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
               including:

          Document           - Claimant Accounting Support Sworn Statement

          Document           - Other Correspondence

          Document           - Financial Data Used by Accountants (Excel)

          Document           - Accountant Compensation Calculation Schedules

          Document           - Eligibility Notice

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                          including:

          Document           - Claimant Accounting Support Sworn Statement

          Document           - Financial Data Used by Accountants (Excel)

          Document           - Accountant Compensation Calculation Schedules

          Document           - Eligibility Notice

          Document           - 2010 Financial – Annual Income Statements / Profit & Loss

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File
                      including:

          Document           - Claimant Accounting Support Sworn Statement

          Document           - Accountant Compensation Calculation Schedules

          Document           - Correspondence from Claimant's Counsel



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                                                                               Exhibit 2

          Document           - Eligibility Notice

          Document           - Correspondence from Claimant's Counsel

          Document           - Correspondence from Claimant's Counsel

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                      including:

          Document           - Claimant Accounting Support Sworn Statement

          Document          - Accountant Calculation Worksheet (From Claimant or
          Claimant’s Accountant)

          Document          - Accountant Calculation Worksheet (From Claimant or
          Claimant’s Accountant)

          Document           - Correspondence from Claimant's Counsel

          Document           - Correspondence from Claimant's Counsel

          Document           - Accountant Compensation Calculation Schedules

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                         including:

          Document          - Correspondence from Claimant's Council

          Document          - Correspondence from Claimant's Counsel

          Document           - Claimant Accounting Support Sworn Written Statement

          Document           - Accountant Compensation Calculation Schedules

          Document           - Financial Data Used by Accountants (Excel)

          Document           - Eligibility Notice

          Document           - Correspondence from Claimant's Counsel

          Global Notes

    Deepwater Horizon Claims Center Web Portal Claim File for
                    , including:



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                                                                                        Exhibit 3


                                        Revenue Definitions

1. “Revenues are inflows or other enhancements of assets of an entity or settlements of its
   liabilities (or a combination of both) from delivering or producing goods, rendering services,
   or other activities that constitute the entity’s ongoing major or central operations.” Financial
   Accounting Standards Board Statement of Financial Accounting Concepts No. 6 (As
   Amended): Elements of Financial Statements, p. 30, Par. 78.
2. “Revenues represent actual or expected cash inflows (or the equivalent) that have occurred
   or will eventuate as a result of the entity's ongoing major or central operations.” Financial
   Accounting Standards Board Statement of Financial Accounting Concepts No. 6 (As
   Amended): Elements of Financial Statements, p. 30, Par. 79.
3. "an entity's revenue-earning activities involve delivering or producing goods, rendering
   services, or other activities that constitute its ongoing major or central operations, and
   revenues are considered to have been earned when the entity has substantially accomplished
   what it must do to be entitled to the benefits represented by the revenues" SEC Staff
   Accounting Bulletin 101 – Revenue Recognition in Financial Statements (1999).
4. “revenue. “The owners’ equity increase accompanying the net assets increase caused by
   selling goods or rendering services; in short, a service rendered; sales of products,
   merchandise, and services and earnings from interest, dividends, rents, and the like. Measure
   revenue as the expected net present value of the net assets the firm will receive. Do not
   confuse with receipt of funds, which may occur before, when, or after revenue is
   recognized. Contrast with gain and income. See also holding gain. Some writers use the
   term gross income synonymously with revenue; avoid such usage.” Litigation Services
   Handbook, The Role of the Financial Expert 3rd Edition, (Roman L. Weil, et al. eds., John
   Wiley & Sons, Inc. 2007) online glossary. (italics in original; bold added)
5. “revenue. The owners’ equity increase accompanying the net assets increase caused by
   selling goods or rendering services; in short, a service rendered; sales of products,
   merchandise, and services and earnings from interest, dividends, rents, and the like. Measure
   revenue as the expected net present value of the net assets the firm will receive. Do not
   confuse with receipt of funds, which can occur before, when, or after revenue is recognized.
   Contrast with gain and income. See also holding gain. Some writers use the term gross
   income synonymously with revenue; avoid such usage.” Litigation Services Handbook, The
   Role of the Financial Expert 4th Edition, 137 (Roman L. Weil, et al. eds., John Wiley &
   Sons, Inc. 2007) (emphasis in original).
6. “revenue 1. Sales of products, merchandise, and services, and earnings from interest,
   dividends, rents and wages; transactions resulting in increases in assets. FASB defines
   revenues as inflows or other enhancements of assets of an enterprise or settlements of its
   liabilities (or a combination of both) during a period from delivering or producing goods,
   rendering services, or other activities that constitute the enterprise’s ongoing central or
   major operations.” Eric Louis Kohler et al., Kohler’s Dictionary For Accountants, 439
   (W.W. Cooper & Yuji Ijiri eds. Prentice- Hall, Inc. 1983) (1952) (emphasis in original).
7. “Revenues inflows or other enhancements of assets or settlements of liabilities from
   delivering or producing goods, rendering services, or other activities that constitute the


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                                                                                         Exhibit 3

   entity’s ongoing major, or central, operations.” Spiceland, J.D., J.F.. Sepe, M.W. Nelson,
   Intermediate Accounting, 7th ed. 2013, p. G-7.
8. “Revenues measure inflows of net assets (that is, assets less liabilities) from selling goods
   and providing services.” Stickney, C.P. Financial Reporting and Statement Analysis, A
   Strategic Perspective, 3rd ed. (1996), p. 14
9. “Revenues Increases in assets or settlements of liabilities from ongoing operations.” Libby,
   R, P. Libby and D.G. Short, Financial Accounting, 7th ed. (2011) G-4 (emphasis in
   original).
10. “Revenues. Increases in net assets arising from services rendered or products sold.” Kieso
    & Weygandt, Intermediate Accounting, 9th ed., p. 23.
11. “REVENUES. Inflows or other enhancements of assets of an entity or settlement of its
    liabilities (or a combination of both) during a period from delivering or producing goods,
    rendering services, or other activities that constitute the entity’s ongoing major or central
    operations.” Kieso & Weygandt, Intermediate Accounting, 9th ed., p. 41.
                                        Expense Definitions

1. “Expenses are outflows or other using up of assets or incurrences of liabilities (or a
   combination of both) from delivering or producing goods, rendering services, or carrying
   out other activities that constitute the entity's ongoing major or central operations.” Financial
   Accounting Standards Board Statement of Financial Accounting Concepts No. 6 (As
   Amended): Elements of Financial Statements, p. 31, Par. 80.
2. “Expenses represent actual or expected cash outflows (or the equivalent) that have occurred
   or will eventuate as a result of the entity's ongoing major or central operations.” Financial
   Accounting Standards Board Statement of Financial Accounting Concepts No. 6 (As
   Amended): Elements of Financial Statements, p. 31, Par. 81.
3. “Expenses Decreases in assets or increases in liabilities from ongoing operations incurred to
   generate revenues during the period.” Libby, R, P. and D.G. Short, Financial Accounting,
   7th ed. (2011) G-2 (emphasis in original).
4. “Expenses outflows or other using up of assets or incurrences of liabilities during a period
   from delivering or producing good, rendering services, or other activities that constitute the
   entity’s ongoing major, or central, operations.” Spiceland, J.D., J.F.. Sepe, M.W. Nelson,
   Intermediate Accounting, 7th ed. 2013, p. G-0.
5. “EXPENSES. Inflows or other enhancements of assets of an entity or settlement of its
   liabilities (or a combination of both) during a period from delivering or producing goods,
   rendering services, or other activities that constitute the entity’s ongoing major or central
   operations.” Kieso, Donald E., J. J. Weygandt, Intermediate Accounting, 9th ed. 1977, p. 41.
6. “expense, n. (14c) An expenditure of money, time, labor, or resources to accomplish a
   result; esp., a business expenditure chargeable against revenue for a specific period. Cf.
   cost…” Black’s Law Dictionary Ninth Edition 658 (Bryan A. Garner ed., Thomson Reuters
   2009) 1891.



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2009 JOB DETAIL                                       Case 2:10-md-02179-CJB-DPC Document 8963-36 Filed 03/20/13 Page 34 of 37
                                                                                                                                                                                                                                                         Exhibit 5
JOB #                    JANUARY                                FEBRUARY                                MARCH                                  APRIL                                    MAY                                     JUNE
                                      GROSS                                  GROSS                                   GROSS                                  GROSS                                    GROSS                                  GROSS
            REVENUE       COSTS       PROFIT       REVENUE       COSTS       PROFIT       REVENUE        COSTS       PROFIT       REVENUE       COSTS       PROFIT       REVENUE        COSTS       PROFIT       REVENUE       COSTS        PROFIT
08-002          702.00      318.00       384.00           -           -            -             -            -            -             -           -            -             -            -            -             -           -             -
08-010             -           -            -          330.00      185.00       145.00           -            -            -             -           -            -             -            -            -             -           -             -
08-015       20,136.00   11,585.00     8,551.00           -           -            -             -            -            -             -           -            -             -            -            -             -           -             -
08-016       23,808.00   16,024.00     7,784.00           -           -            -             -            -            -             -           -            -             -            -            -             -           -             -
08-023       22,179.00   43,308.00   (21,129.00)          -           -            -             -            -            -             -           -            -             -            -            -       70,411.00         -       70,411.00
08-027        8,813.00   14,039.00    (5,226.00)          -           -            -             -            -            -             -           -            -             -            -            -             -           -             -
08-030             -           -            -       73,686.00   92,560.00   (18,874.00)    81,565.00   100,538.00   (18,973.00)    81,618.00   92,096.00   (10,478.00)   219,358.00   239,700.00   (20,342.00)          -                         -
08-054        2,310.00   10,543.00    (8,233.00)          -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-001             -           -            -          400.00      192.00       208.00           -            -            -             -           -            -             -            -            -             -            -            -
09-004             -           -            -             -           -            -             -            -            -             -           -            -       53,948.00    34,172.00    19,776.00    193,145.00   205,120.00   (11,975.00)
09-007             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -      220,643.00   176,514.00    44,129.00
09-014             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-015             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-033             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-041             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-043             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-049             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
09-050             -           -            -             -           -            -             -            -            -             -           -            -             -            -            -             -            -            -
TOTALS       77,948.00   95,817.00   (17,869.00)    74,416.00   92,937.00   (18,521.00)    81,565.00   100,538.00   (18,973.00)    81,618.00   92,096.00   (10,478.00)   273,306.00   273,872.00      (566.00)   484,199.00   381,634.00   102,565.00

NOTES:




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                                                                                                                                                                                                                                                   Exhibit 5
                JULY                                  AUGUST                                   SEPTEMBER                              OCTOBER                                  NOVEMBER                                 DECEMBER
                            GROSS                                    GROSS                                   GROSS                                  GROSS                                     GROSS                                   GROSS
REVENUE        COSTS        PROFIT      REVENUE        COSTS         PROFIT       REVENUE        COSTS      PROFIT      REVENUE        COSTS        PROFIT        REVENUE        COSTS       PROFIT        REVENUE        COSTS       PROFIT
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -     (117,758.00)   117,758.00           -            -           -            -            -             -              -            -            -              -            -            -
       -       (9,012.00)    9,012.00          -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -              -            -            -
242,311.00    192,329.00    49,982.00   100,596.00    135,568.00    (34,972.00)          -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -     120,650.00    126,965.00     (6,315.00)          -            -           -            -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -       41,799.00    37,128.00    4,671.00          -            -             -              -            -            -              -            -            -
       -             -            -            -             -             -       84,900.00    65,154.00   19,746.00    44,179.00    68,405.00    (24,226.00)           -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -              -            -            -         4,476.00     2,904.00     1,572.00
       -             -            -      11,485.00      4,616.00      6,869.00           -            -           -       8,104.00    11,801.00     (3,697.00)           -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -       3,895.00     1,249.00      2,646.00            -            -            -              -            -            -
       -             -            -            -             -             -             -            -           -            -            -             -        35,600.00    18,920.00    16,680.00            -            -            -
       -             -            -            -             -             -      101,257.00    60,754.00   40,503.00    67,717.00    51,152.00     16,565.00      47,344.00    74,229.00   (26,885.00)     97,916.00   113,456.00   (15,540.00)
242,311.00    183,317.00    58,994.00   232,731.00    149,391.00     83,340.00    227,956.00   163,036.00   64,920.00   123,895.00   132,607.00     (8,712.00)     82,944.00    93,149.00   (10,205.00)    102,392.00   116,360.00   (13,968.00)

MATERIALS RETURNED ON JOB 08-054.       JOB 08-030 SUBCONTRACTOR SETTLES                                                COST OVERRUNS ON JOB 09-015.             COST OVERRUNS ON JOB 09-050.             COST OVERRUNS ON JOB 09-050 ARE
JOB 08-030 BECOMES A LEGAL ISSUE.       FOR A $117,758 REDUCTION IN                                                                                                                                       WORSE THAN ESTIMATED.
                                        AMOUNTS OWED.




                                                                                                                             Page 2 of 3
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                                                                                                                       Exhibit 5
               TOTALS
                               GROSS
 REVENUE          COSTS        PROFIT
      702.00         318.00       384.00
      330.00         185.00       145.00
   20,136.00      11,585.00     8,551.00
   23,808.00      16,024.00     7,784.00
   92,590.00      43,308.00    49,282.00
    8,813.00      14,039.00    (5,226.00)
  456,227.00     407,136.00    49,091.00
    2,310.00       1,531.00       779.00
      400.00         192.00       208.00
  590,000.00     567,189.00    22,811.00
  341,293.00     303,479.00    37,814.00
   41,799.00      37,128.00     4,671.00
  129,079.00     133,559.00    (4,480.00)
    4,476.00       2,904.00     1,572.00
   19,589.00      16,417.00     3,172.00
    3,895.00       1,249.00     2,646.00
   35,600.00      18,920.00    16,680.00
  314,234.00     299,591.00    14,643.00
2,085,281.00   1,874,754.00   210,527.00




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                                                                                                 Exhibit 6
        Profits are earned throughout a project as work is completed. Total project results are
        captured in B and C totals, and revenue is allocated as a percentage of monthly costs (column
        A) to properly reflect revenue earned as construction is completed (column D).

                                                   Project 08-023
                           As reported in monthly financial statements.
                                               A                                     D = A x (B/C)
                          Revenue             Cost             Gross Profit            Adj Rev
             Jan-08                                                                              -
            Feb-08                                                                               -
            Mar-08                                                                               -
            Apr-08                                                                               -
            May-08                                                                               -
             Jun-08                                                                              -
              Jul-08           16,680.00            14,011.00           2,669.00          15,371.30
            Aug-08                                                                               -
            Sep-08          103,078.00              72,155.00          30,923.00          79,160.39
             Oct-08         204,200.00             142,940.00          61,260.00         156,817.77
            Nov-08          304,255.00             295,127.00           9,128.00         323,780.31
            Dec-08           16,600.00             119,259.00        (102,659.00)        130,837.63
             Jan-09           2,310.00              10,543.00          (8,233.00)         11,566.60
            Feb-09                                                                               -
            Mar-09                                                                               -
            Apr-09                                                                               -
            May-09                                                                               -
             Jun-09            70,411.00                               70,411.00                 -
              Jul-09                                                                             -
            Aug-09                                                                               -
            Sep-09                                                                               -
             Oct-09                                                                              -
            Nov-09                                                                               -
            Dec-09                                                                               -
             Jan-10                                                                              -
            Feb-10                                                                               -
            Mar-10                                                                               -
            Apr-10                                                                               -
            May-10                                                                               -
             Jun-10                                                                              -
              Jul-10                                                                             -
            Aug-10                                                                               -
            Sep-10                                                                               -
             Oct-10                                                                              -
            Nov-10                                                                               -
            Dec-10                                                                               -
          Job Total          717,534.00            654,035.00          63,499.00         717,534.00
                              B                     C



Source : CSSP portal documen               pages 61 and 64.
